
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-08-402-CV

KENYA BROOKS AND ALL OCCUPANTS	APPELLANT

V.

VAUCLUSE APARTMENTS	APPELLEE

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FROM COUNTY COURT AT LAW NO. 1 
OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On October 28, 2008, we requested an amended notice appeal from appellant because it did not include a certificate of service indicating that the notice of appeal had been served on all parties to the trial court proceeding. &nbsp;Additionally, we requested that appellant file a docketing statement. &nbsp;We received no response.

On November 18, 2008, we sent a second notice to appellant requesting that he amend his notice of appeal by December 1, 2008.



On December 8, 2008, our October 28, 2008 and November 18, 2008 letters were returned as unclaimed and unable to forward.

On December 16, 2008, we sent appellant a letter stating that designation of the reporter’s record had not been made and that such designation needed to be made by December 31, 2008. &nbsp;On December 17, 2008, we sent appellant a letter stating that the clerk’s record had been filed. &nbsp;On March 10, 2009, both of these letters were returned as undeliverable.

In the interim, on February 19, 2009, we notified appellant that his brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;Tex. R. App. P. 38.6(a). &nbsp;We stated we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;
See
 Tex. R. App. P. 42.3. &nbsp;We have not received any response.

A pro se plaintiff is required to keep this court apprised of his current mailing address. &nbsp;
See 
Tex. R. App. P. 9.1(b), 32.1(a)(2) (both stating that a party not represented by counsel must supply his name, address, and telephone number to the court). &nbsp;Appellant has failed to do this and has failed to file a brief. &nbsp;We therefore dismiss the appeal for want of prosecution. &nbsp;
See
 Tex. R. App. P. 38.8(a)(1), 42.3(b), 43.2(f).
		

PER CURIAM 		



PANEL: &nbsp;WALKER, MCCOY, and MEIER, JJ. &nbsp;



DELIVERED: &nbsp;March 12, 2009 &nbsp;

FOOTNOTES
1:See 
Tex. R. App. P.
 47.4.




